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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

USA                                            §
                                               §
vs.                                            §    Case Number: EP:19-M -08728(1)-LS
                                               §
(1) Blanca Emma Castaneda-Ramirez              §

                      ORDER RESETTING STATUS CONFERENCE


           IT IS HEREBY ORDERED that the above entitled and numbered case is reset for
1:30 PM, in Magistrate Courtroom, Room 512, on the 5th Floor of the United States Courthouse,
525 Magoffin Avenue, El Paso, TX, on October 30, 2019.

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Further, counsel for the
defendant shall notify the defendant of this setting. If the defendant is on bond, he/she
shall be present.


           IT IS SO ORDERED this 23rd day of October, 2019


                                              ______________________________
                                              LEON SCHYDLOWER
                                              UNITED STATES MAGISTRATE JUDGE
